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                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT
                               717 MADISON PLACE, N.W.
                               WASHINGTON, D.C. 20439

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                                    October 9, 2024

                             2024-1504 - CVB, Inc. v. US

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